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    8
        Company, LLC d/b/a Borgata Hotel
    9   Casino & Spa

   10                               UNITED STATES DISTRICT COURT

   11                                     DISTRICT OF NEVADA

   12    MARINA DISTRICT DEVELOPMENT                      Case No.: 2:20-cv-01592-GMN-BNW
         COMPANY, LLC d/b/a BORGATA HOTEL
   13    CASINO & SPA, a New Jersey limited
         liability company,                               STIPULATION AND ORDER TO SEVER
   14
                       Plaintiff,                         CERTAIN CLAIMS AND TRANSFER TO
   15                                                      THE U.S. DISTRICT COURT FOR THE
                v.                                             DISTRICT OF NEW JERSEY
   16
         AC OCEAN WALK, LLC d/b/a OCEAN
   17    CASINO RESORT, a New Jersey liability
         company; WILLIAM CALLAHAN, an
   18    individual; and KELLY ASHMAN BURKE,
         an individual,
   19
                       Defendants.
   20
               WHEREAS, Plaintiff Marina District Development Company, LLC (“Borgata”) filed the
   21
        above-captioned action against Defendants AC Ocean Walk, LLC d/b/a Ocean Casino Resort
   22
        (“Ocean”), William Callahan, and Kelly Ashman Burke on August 27, 2020;
   23
               WHEREAS, on September 6, 2020, Ocean moved to dismiss for lack of personal
   24
        jurisdiction and improper venue, a motion on which the Court has not yet ruled (the “Motion to
   25
        Dismiss”);
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    1          WHEREAS, on October 7, 2020, the Court compelled arbitration with respect to certain of

    2   Borgata’s claims against Callahan and Burke and stayed the claims with respect to Callahan and

    3   Burke, so only Borgata’s claims against Ocean remain active in this Court subject to the pending

    4   Motion to Dismiss;

    5          WHEREAS, for the convenience of the parties and in the interest of justice the parties agree

    6   that Borgata’s claims against Ocean should be severed and transferred to the District of New Jersey,




                                                                                                           -
    7   a district where the action, as to Ocean, may have been properly brought;

    8          WHEREAS, the parties reserve all rights upon severance and transfer;

    9          WHEREAS, Ocean reserves all its rights to maintain its pending Motions in the District of

   10   New Jersey, including Ocean’s pending Motion to Dismiss under Federal Rule of Civil Procedure

   11   12(b)(6), which will be transferred to the District of New Jersey;

   12          NOW THEREFORE, THE PARTIES STIPULATE that Borgata’s claims against Ocean be

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    1   severed under Federal Rule of Civil Procedure 21 and transferred to the U.S. District Court for the

    2   District of New Jersey under 28 U.S.C. § 1404(a) and/or 28 U.S.C. § 1406(a).

    3          Dated: November 4, 2020

    4    JACKSON LEWIS P.C.                                   BLANK ROME LLP

    5    /s/ Paul T. Trimmer                                  /s/ Leigh Ann Buziak
         PAUL T. TRIMMER                                      LEIGH ANN BUZIAK (Pro Hac Vice)
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         Company, LLC d/b/a Borgata Hotel Casino &            I. SCOTT BOGATZ
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   10
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                                                              Las Vegas, Nevada 89101
   12
                                                              Attorneys for Defendants
   13                                                         AC Ocean Walk, LLC, William Callahan,
                                                              and Kelly Ashman Burke
   14

   15                                                ORDER
   16          Good cause appearing, the Court orders as follows:
   17          1.      Pursuant to Federal Rule of Civil Procedure 21, Plaintiff’s claims against Defendant
   18   AC Ocean Walk, LLC are severed from Plaintiff’s claims against William Callahan and Kelly
   19   Ashman Burke; and
   20          2.      Pursuant to 28 U.S.C. § 1404(a), for the convenience of the parties and in the
   21   interests of justice, Plaintiff’s claims against Defendant AC Ocean Walk, LLC are transferred to
   22   the U.S. District Court for the District of New Jersey.
   23       IT IS SO ORDERED.
   24                                                             Dated this __
                                                                              6 day of November, 2020.
            As this case has already been stayed with
   25       respect to the remaining Defendants,
            (See Mins. Proceedings, ECF No. 91),
   26       IT IS FURTHER ORDERED that
            Defendants' Motion to Stay Case, (ECF
   27                                                             ________________________________
            No. 102), is DENIED as moot.
                                                                  Gloria M. Navarro, District Judge
   28                                                             UNITED STATES DISTRICT COURT

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